IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

 

Plaintiff(s);

VS.
CaSeNO_ lL""'OO")~’-?"CV '\/\/ "’ DW
UNIFIED GOVERNMENT OF
WYANDOTTE COUNTY/KANSAS
CITY, KANSAS, AND ALL CITY
TOW SERVICE, et al,

Defendant(s).

COMPLAINT `
COME NOW plaintiff is requesting that the court FREEZE & PLACE HOLD on the Unif`led
Government of Wyandotte County/ Kansas City Kansas’ HUD funds until the defendants whom are
abusing federal money, the elderly & disabled, Native Americans, and African Americans correct the

following United States Department of Housing and Urban Development violations:

1. Whereas, on or about December of 2013, the defendants abused plaintiffs [low income elderly
disabled senior citizens who reside at the Cathedral Square Tower HUD apartments located at
444 W. 12th Street, KCMO] via several violations of` the American Disabilities Act of 1990 and
violations pertaining to Abuse of the Elderly USC Title 42 regarding Public Accommodations
[Chapter 42-66-8.2].

(1) Whereas, Kenneth Dulas who is a disabled elderly senior citizen and resides at CST on or
about December of 2013 visited a public place in Kansas City, Kansas [7th Street Casino] and
after finding no place to park for disabled persons parked on Wyandotte County property;
whereby, while Mr. Dulas was in the casino, a Wyandotte County Deputy Sheriff spotted
Dulas’ pickup; whereupon, the officer noticed that Kenneth’s license plates had expired;
thereupon, the officer then had the vehicle towed and impounded at All City Tow Service at
1015 S. Bethany in Kansas City, Kansas; thereafter, the defendants refused to return vehicle
and personal property to owners; also, by the defendants not releasing the garage door opener
which is owned by CST, they have endangered the lives of 156 tenants; whereupon, anybody
can access CST property to inflict bodily harm upon tenants. Also, Boyd & Dulas had
groceries in vehicle which happen to be their food supply for the supply month.

 

lPlaintin(s) request Trial by Jury in Kansas City, Missouri.
This case is a class action against the defendants for the illegal seizure of real & personal property, abuse of HUD funds,
abuse of elderly, and discrimination against the handicap & racial discrimination of AfricanAVative Americans.

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(2) Henceforth, Dulas and Boyd have no groceries to eat; they have no credit to borrow
money; they have no money in the bank; the only asset they have in the world is their
pickup truck; they have no ways and means to get to doctors for medical treatrnents;
they had to catch the bus in freezing temperatures to get a food pantry; they had to
walk to the State of Missouri office building [downtown] in freezing Weather to try
to get food stamps because the defendants refuse to return to them their groceries;
whereupon, they caught a severe cold, but had no transportation to go to clinic.

(3) Whereas, by the City of KCK not having accommodations for Mr. Dulas [a disabled
senior citizen] to park in a public place this is a violation of the American Disabilities
Act of 1990-Title III.

(4) When an Officer of Wyandotte County, Kansas Sheriff’s Departrnent impounded Mr.
Dulas’ vehicle for expired tags in Missouri [another state] this means there is conflict
with a municipal law of KCK and the Constitution of the United States of America;
however, the U.S. Constitution is the Supreme Law of the land that supersedes
municipal codes and state laws as a superior law; consequently, the City of KCK
violated Kenneth Dulas’ Fourth Amendment Constitutional Rights; therefore, the City
of KCK had no search warrant nor any arrest warrant, or any legal right to impound a
vehicle for a license violation in another state.

(5) Whereas, the defendants subjected William C. Young and 155 other tenants who
reside at CST to danger [endangered lives of elderly/abuse of elderly-Title 42
USC]; whereupon, anyone could access property with HUD garage door opener and
commit a crime or murder William Young; moreover, Mr. Young had threats to his
life on or about December of` 2013 and made reports to FBI and KCMO Police
Department; furthermore, Young who is a Consumer Protector and Government
Informer submitted ZSth Amendment Concealed Gun Amendment to Congress and
mandates to reopen murder cases of John F. Kennedy, Robert F. Kennedy, Martin
Luther King, and Malcom X conducive to making proposal to put pharmaceutical
companies out of business to promote social medicine in USA via the U.S. Court
Appeals for the Eighth Circuit; thereupon, drug dealers have put a contract out on Bill
Young’s life because of his concealed gun amendment or, anyone can put a bullet in
Mr. Young and blame it on the other guy and Would pay mega bucks to have
possession of that garage door opener to enter CST property and murder Mr. Young.

(6) Therefore, with those things being said and done, the plaintiff(s) are asking the court
to award 156 tenants at Cathedral Square Tower HUD senior citizen & disability
apartment complex $1.7 million dollars for punitive damages.

(7) For closure of this case: this case will be conldsing to jurors because this is a rare
instance where there is conflict between a municipal law/or state law and a federal law. To
simplify, the states and municipalities of Kansas and Missouri have a reciprocal agreement
that if an officer via background checks spots a vehicle with expired tags from another state
in their jurisdiction then the arresting officer has the authority to impound the vehicle or
arrest the driver of that vehicle as a suspect for violating a crime in another state; however,
this reciprocal agreement between states will satisfy state law; but, at the same time it is in
conflict With the Constitution and violates Mr. Kenneth Dulas’ 4th Amendment Constitutional
Rights which means that in a situation where there is conflict with a state law and a federal
law then federal law supersedes state law, because the “U.S. Constitution is the Supreme
Law of the Land”, and if Kenneth Dulas is wrong and the defendants are right then the
Constitution of` the United States of America and all of its amendments are a lie.

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2. Whereas, the defendants are part of a two-hundred-year-white-bigot-culture that
systemically and methodically cheat African Americans & Native Americans out of land
and mineral rights by using Eminent Domain as a ways, and means to commit a scam
while destroying their proud heritage and culture.

(1) The First Criminal Act occurred on or about April of 2009 when at such time an
employee of Edward L. Kates driving a bulldozer drove it into the front part of the
historical building located at 642-644 Parallel Parkway causing permanent damage to
the structure thereupon causing roof to collapse, and instead of making police report,
left the scene of a crime and a gap in the facade of the building allowing thieves and
persons passing by to help themselves to over 83,000 historical artifacts worth over
$2 billion dollars [see Exhibit A]; henceforth, this action constitutes the lst Count of
a Criminal Action by leaving the crime scene via committing a felony and 2"d
Count of a Criminal Action via destroying a historical building at which time the DJ
Young foundation had been established to receive over a million dollars in funds
from historical societies, Churches of God in Christ, and the Assemblies of God
Churches to renovate the old building and declare it a National Historical Site as the
Huron Cemetery and the Quindaro Ruins; therefore, this case is similar to Wyandotte
Nation vs. City of Kansas City, Kansas @ which time Eliza Conley had become the
first female Native American in history to argue case before the Supreme Court to
make the Huron Cemetery a National Historical Site; also this case is similar to
Commissioner Nate Bames [who has the history I.Q. of a moron] & the UG who tried
to convert Quindaro Ruins into a landfill, but was stopped by Marvin Robinson &
company before it was declared a National Historical Site.

(2) Whereas, conducive to destroying over 83,000 historic artifacts, the defendants via
Eminent Domain and the illegal seizure of real property and historical printing
equipment worth over $100 million; whereupon, three attorneys [2 attorneys live in
Johnson County, pay taxes in Johnson County, and send their kids to schools in
Johnson County at the financial burden of Wyandotte County taxpayers Katherine
Lynch & Tim Orrick] whom are employees of the UG seized historical printing in
order to benefit members of the Kansas Bar Association by creating a billion lawsuit
at the expense of the Wyandotte County taxpayers.

(3) Whereas, the UG took HUD funds that was earmarked for low income families [and
shelters for homeless] in the urban area to build upper middle class families and
Commissioner Nate Bames new homes in 3 housing divisions; one of those new
home subdivisions is called the Peregrine Falcon where Barnes live.

(4) Whereas, the City of Kansas City, Kansas have never did anything to promote the
achievements of African Americans or Native Americans living in Wyandotte County
as their sister town Kansas City, Missouri: whereas, KCK tried to destroy the Sacred
Native American ground of the Huron Cemetery by trying converting it into a
shopping mall and tried to turn the Quindaro Ruins into a landfill; henceforth, the
City KCMO restored the 18th Historical District and the Gem Theater while the City
of KCK did absolutely nothing to preserve Sth Street or the Princess Theater; whereas,
KCMO named streets after its first African American mayor [Emanuel Cleaver, II]

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and the Bruce R. Watkins thoroughfare was named after KCMO’s first African
American city councilman while KCK had the audacity to name somebody’s back
yard after KCK’s first African American chief of police [Boston Daniels Park];
whereas, no streets have been named after Verdis Young Robinson who was the first
African American female to serve in the Kansas legislature and the last county
commissioner to serve under the old infrastructure; nor, has any streets been named
after David Johnson Young the first African American televangelist that established
Young Memorial COGIC and Kansas Jurisdiction East as the first Churches of God
in Christ churches in the State of Kansas; henceforth, even Kansas City, Missouri
named a street/block after Rev. Floyd Thuston who established one of the first
COGIC churches in Kansas City, Missouri; whereas, KCMO has erected new
buildings in the urban core to serve African Americans and other minorities such as
the Lucile Bluford Library, the Bruce R. Watkins Heritage Center, the Swope Park
Community Center, the Hillcrest Community Center, the Samuel Rodgers Medical
Centers, the Palestine Garden senior citizen apartments, the Jamison Temple Homes,
the Don Bosco Community Center, the Westport House Apartments & Cathedral
Square Towers/HUD properties, the Lincoln Garden Apartments, Swope Park
Estates, the American Jazz Museum, and the Negro League Baseball Museum while
the City of KCK have done next to nothing to promote projects to aid the urban
core of Kansas City, Kansas.

(5) Whereas, Historian Bill Young researched his families’ history for 17 years and after
he completed most of his research by graduating from the University of Missouri at
Kansas City in 2008, he discovered a major historical achievement he discovered
that his fraternal Mulatto great grandfather David Johnson Young and his maternal
great Mulatto grandmother [Hattie Sands] played major roles in the great American
experience known as American history.

(6) Bill Young’s great-great-great White grandfather was Solomon Young [David
Young’s fraternal grandfather], and Solomon was also Harry S. Truman’s maternal
grandfather which meant that the members of the Young family are blood relatives to
former President Harry S. Truman & the Truman family.

(7) Henceforth, the Missouri Compromise of 1850 prompted the white Young farnin to
leave Kentucky [abt. 1861] and move to the Missouri territory which had the potential
to become a slave state; thereupon, after arriving in Missouri, the Young family
became part of a secret slave owner association Whose main purpose in life was to
breed slaves via answering “yes” to the question: Are you sound on the Golden
Goose?” Whereas, the slave breeders believed that the Missouri Compromise was the
“Goose that laid the Golden Egg.”

(8) Whereas, David Young’s biological father was Harrison Young While David’s
mother, Murillo Young was a slave on the Young plantation; whereby, David Young
being born a Mulatto bastard, he was cheated out his birthright before he came out of
his mother’s womb [see Exhibit G].

(9) Henceforth, Harrison was sexually attracted to black women [14-year-old slave girls]
and never married a white woman; wherefore, a white woman could never do
anything for Harrison but tell him which way a black girl went [once you go black

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you’ll never go back]; therefore, all of Harrison's children were by black Women
which resulted in Harrison mixing business [breeding slaves to sell] with pleasure.

(10) Consequently, Harry S. Truman was named after his Uncle Harrison Young, and
before the white Young family left Kentucky to move to Missouri, they sold their
plantation and liquidated their estate which consisted of livestock [cattle and slaves];
whereupon, David’s family was split up with David, his mother, and his step-father
[John Young] being sold to a rice plantation in South Carolina while David’s other
siblings Were sold to the Johnson plantation which is the reason why David utilized
Johnson as his middle name with the hope of being reunited with his siblings
sometime in the future conducive to freedom bells ringing; again, since Harrison had
no white child to pass his name to, Harry Truman’s mother [Martha] named her son
“Harry,” while Harry’s middle name would be the initial “S” which reflected his
fraternal & maternal grandfathers’ names [Solomon & Shipp].

(11) When abolitionist attacked the white Young family’s Missouri plantation during
the Civil War, Solomon Young & sons had to find a new line of work; therefore,
Solomon became a wagon master that planned the logistics that led wagon trains from
Independence, Missouri to Califomia.

(12) Bill Young is the first historian to discover that the printing press was “A Tool of
the Christian Trade” and it was the printing press that played the major role in
spreading the “Word” of God all over world more so than word of mouth; whereas,
the Gutenberg printing press printed the first Bible in the 15th Century, and in the 19th
Century during Reconstruction which reflected Jim Crow Laws, freed blacks were
denied education because the new law compelled them to go back to work on the
plantation which prompted them to teach each other how to read in Sunday school by
using David Young’s Sunday School Quarterlies as textbooks [see Exhibit A].

(13) Therefore, in the Evangelic Movement, David Young became the first African
American televangelist and if not the first televangelist that sent Gospel literature all
over the world, he was the first televangelist of the 20th Century before radio and
television televangelism became the popular media to spread God’s Word.

(14) Another one of the first televangelist [before David Young] was the Council of
Churches/Standard Publishing Company Which was established in Cincinnati, Ohio
around 1866. Standard designed the first Sunday school book which became a
periodic publication that still exist to date; David Young became involved with
Standard after he graduated from Augusta Institute [A&M Morehouse College in
Atlanta, GA] as a minister about 1870.

(15) One of David Young’s oldest publication, that’s still around is The Whole T ruth
newspaper; this 1911 publication is on display @ the Pentecostal Flower Museum in
Springfield, Missouri; the museum also have copies of DJ Young’s 1933 Sunday
School Quarterly. These 1930’s Sunday school books are worth $2.16 million dollars
each due to the fact that a 1938 Superman DC Action Comic book sold for $2.16
million dollars @ an action in November of Henceforth, what Brigham Young was to
the Latter Day Saint movement, David Young was to the Pentecostal movement
which outnumber the Morrnons by a ratio of 10 to 1 ; whereas, David Young was also
a co-f`ounder of the Churches of God in Christ [Charles Mason/founder] an
organization in Which 1 out of 7 of all African Americans belong to; again, DJ Young
Publishing Company & the Young family was the education department for the

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COGIC for 70 years; furthermore, David Young & the Young family came to Kansas
City, Kansas in 1916 @ which time David [first bishop of Kansas] established the
first COGIC in Kansas; thereupon establishing Kansas Jurisdiction East; henceforth,
he [also] was the first in Kansas to establish a Second Class Postal Permit that
allowed him to mail church literature all over the world from his home @ 1958 N. 6th
Street than later from 642-644 Chelsea Avenue/Parallel Parkway.

(16) Henceforth, in regards to the Young family’s printing equipment, the Price-
Chandler is the oldest printing press which was manufactured in 1881 @ Cleveland
Ohio by Harrison T. Chandler and William H. Price who converted a hand-fed foot
pedal into a state of higher quality by replacing the leg work with an electric motor.

(17) Whereas, the Kluge press was another state of the art machine that was
manufactured by two brothers from Norway [Kluge} and an American [Brandtjen].
The Kluge press had a vacuum mechanism to pick up paper and relieve the printer
from the burden of feeding the press by hand.

(18) Henceforth, news presses [Kelly I & II] was manufactured by American Type
Founders via the merger of 23 type foundries [USA] representing 85% of all type
manufacturers in USA. Before ATF, 90% of all printing presses were manufactured
in Europe. William M. Kelly [1869-1949] played a major role in organizing ATF and
manufacturing over 2500 Kelly newspaper presses in 1923. Again, Russell Baum
started the Liberty Folder Company @ Sidney, Ohio in 1917; this machine folded
newspaper size paper [3ft x 4 ft] into any size needed for the print job. At DJ Young
Printing Company, the Baum folded newspaper size sheets from the Kelly press into
book size Sunday school books.

(19) Whereas, the machine that replaced type setting by hand was the Linotype
machine which came with a keyboard similar to a typewriter; this machine mounted
letters on lead slugs which could be melted into a liquid then recycled which allowed
the printer to use the same type over and over again for different printing jobs.

(20) Henceforth: the two Kelly newspaper presses, the Price/Chandler press, the Baum
Folder, and the Kluge are the only ones that exist which means each one of these
machines are worth $700 million dollars [each].

(21) Henceforth, since none of the family members could produce Wills, bills of sale,
or any legal document to prove ownership or Went to Probate Court to claim
ownership, Bill Young established DJ Young Publishing Company, LLC on February
17, 2011 pursuant to the laws of Missouri to promote the legacy of David Young, to
preserve the historical artifacts and printing equipment, and to publish American
history books; therefore, the printing presses that the UG have seized belongs to D.J.
Young Publishing Company, LLC; therefore the plaintiff is asking that the UG
release the printing equipment that it has in its possession and deliver it to the Flower
Pentecostal Heritage Museum in Springfield, Missouri and pay D.J. Young
Publishing Company $7.7 million dollars for the intention destruction of $177
million dollars of historical artifacts and for leaving the scene of a crime and
falsifying legal documents through perjury and bribery.

. Remedy for African and Native American Reparation: if the court ruled in favor of

plaintiff, there would be no way the City of WYCO/KCK could pay punitive damages of

over 177 million dollars; therefore, REPARATION/REDRESS should consist if the
following:

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THE NEW QUINDARO TOWNTM
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Founder: Histoi:ian Bill Young - m -

historianwill ahoo.com
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THE PLAN FoR REPl\RATloN FoR NATlvE AMERchNs
THE NEW QUINDARO TOWNTM

Rules

*ONLY MODE OF TRANSPORTATION ALLOWED: HORSEBACK RIDERS, HORSE
DRIVEN CARRIAGES, AND ELECTRIC STREET CARS.

*ONLY ONE KIND OF ATTIRE ALLOWED TO BE ADMITTED TO QT: COUNTRY
& WESTERN DRESS.

*ONLY ONE KIND OF MUSIC: COUNTRY & WESTERN MUSIC.

*NATIVE AMERICANS WILL CONTROL & OWN ALL GAMBLING OPERATIONS
& WILL BE EXEM*PTED FROM ALL TAXES.

*NO CHAIN BUSINESS ENTREPRENEURS WILL BE ALLOWED TO PARTICIPATE
IN THE NEW QUINDARO TOWN EXPERIENCE (CHAIN HOTELS WILL BE THE
ONLY EXCEPTION TO THE RULE).

*ALL ADMISSION FEES WILL GO TO UNIFIED GOVERNMENT OF KCK/WYCO.
*AREA WILL BE PATROLLED BY THE WYCO COUNTY MOUNTED SHERIFF’S
POSSE.

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Closing Statement

With those things being said and done and conducive to the previous, the plaintiff is requesting the
court to mandate that the United States Department of Housing & Urban Development place a FREEZE
ON ALL HUD FUNDS going to the Unified Government of Wyandotte County/Kansas City, Kansas;
whereas, Bill Young who was deemed by the Govemor of Kansas [Sam Brownback] to act as “The New

Quindaro Town-Coordinator;” whereupon, a committee will be formed according to:

CODE OF ORDINANCES
Wyandotte County - Unified Government, Kansas

Chapter 9 - CommuniLv_ Development

Section 9.6 - Cooperation by public bodies.
The Unified Government and the Department of Community Development may cooperate

with other public bodies, including the federal government, the state, the county, and such other
public entities for the purpose of aiding in planning, undertaking and carrying out a rehabilitation
project in the city.

Therefore, as a plan for reparation [The New QT] that will benefit the 156,000 taxpayers of
Wyandotte County, Kansas; covert a ghetto land food desert from 5th and Quindaro to 78th and
Leavenworth Road to a U.S. National Amusement Park such as Missouri Town in Lake Jacomo;
create thousands of jobs for the Greater Kansas City Area; convert Parallel Parkway into haven
of buildings that Will benefit the Wyandotte County community such as the Swope Park
Community Center in KCMO, Cathedral Square Towers in KCMO, Palestine Gardens in
KCMO, the Bruce Watkins Heritage Museum in KCMO and etc., Bill Young is asking that the
court put a hold on money until a committee of nine persons can be formed via the mayor of
KCK[Mark Holland]; State Representative of Kansas [Broderick Henderson]; HUD Regional
Director [James Heard]; Chief of Wyandotte Nation of Oklahoma [Billy Friend]; Chief of
Wyandotte Nation of Kansas [Jan English]; Chairman of National Indian Game Association
[Emest Stevens]; Bureau of Indian Affairs [Kevin Washburn], and Congressman Kevin Yoder

can come together and make The New QT a reality.

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Respectively Subm`

   
   

BY: ATE: February 7 , 2014

C. Young/Pro Se

Consumer P tector, Government Informer
And Tenant who resides at CS'I` Apartments

444 W. 12th street, #705
Kansas City, MO 64105
816 569-5625

NAMES AND ADDRESSES FOR SERVICE OR SUMMONS

Mayor/CEO Mark Holland

Unified Govemment of Wyandotte
County/Kansas City, Kansas

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